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 1
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 6
   Attorneys for Plaintiff
 7 United States of America
 8
 9                              IN THE UNITED STATES DISTRICT COURT

10                                 EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                          CASE NO. 1:18-CR-00245-DAD
12
                                  Plaintiff,            STIPULATION AND ORDER TO CONTINUE
13                                                      DEFENDANT LUIS ANTONIO BARRETO-
                           v.                           CRUZ’S SENTENCING HEARING
14
     LUIS ANTONIO BARRETO-CRUZ,
15
                                 Defendants.
16
17
18                                              STIPULATION

19          Plaintiff United States of America, by and through its counsel of record, Assistant United States

20 Attorney Angela Scott, and defendant LUIS ANTONIO BARRETO-CRUZ, by and through defendant’s
21 counsel of record, E. Marshall Hodgkins, hereby stipulate as follows:
22          1.     On November 8, 2018, defendant was indicted for crimes related to the distribution of

23 fentanyl and cocaine. Doc. 1.
24          2.     On December 2, 2019, defendant pleaded guilty to Count One of a superseding

25 information, which charged him with conspiracy to possess with intent to distribute, and distribute
26 fentanyl and cocaine, in violation of 21 U.S.C. § 846, 841(a)(1), (b)(1)(C). A sentencing hearing was set
27 for February 24, 2020. Doc. 56.
28          3.     Undersigned government counsel needs to travel this Friday, February 21, 2020, through


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     at least Monday, February 24, 2020, to assist a family member who is having an unexpected medical
 2
     procedure over the weekend. Consequently, the government is seeking a brief continuance of Monday’s
 3
     sentencing hearing to March 2, 2020.
 4
            4.     Defendant does not object to the continuance.
 5
            5.     As such, the parties respectfully request a continuance of defendant’s sentencing hearing
 6
     to March 2, 2020, at 10:00 a.m.
 7
 8          IT IS SO STIPULATED.
 9
10
11    Dated: February 19, 2020                             McGREGOR W. SCOTT
                                                           United States Attorney
12
13                                                         /s/ ANGELA L. SCOTT
                                                           ANGELA L. SCOTT
14                                                         Assistant United States Attorney
15
16    Dated: February 19, 2020                             /s/ per email authorization
17                                                         E. MARSHALL HODGKINS
                                                           Counsel for Defendant
18                                                         LUIS ANTONIO BARRETO-
                                                           CRUZ
19
20
21                                                ORDER

22          GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that defendant LUIS ANTONIO
23 BARRETO-CRUZ’s sentencing hearing currently set for Monday, February 24, 2020, at 10:00 a.m. is
24 hereby continued to Monday, March 2, 2020, at 10:00 a.m.
25
     IT IS SO ORDERED.
26
        Dated:    February 19, 2020
27                                                   UNITED STATES DISTRICT JUDGE
28


30                                                     2
31
